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 8                        UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,            No.   15-cr-00158 JAM
12                 Plaintiff,
13        v.                              ORDER DENYING DEFENDANT’S MOTION
                                          FOR RECONSIDERATION OF
14   BRYCE BEAVER,                        SENTENCE/RULE 35 MOTION
15                 Defendant.
16

17        Defendant Bryce Beaver (“Beaver”)’s motion for

18   reconsideration [73] requests that this Court modify its original

19   sentence of one year and a day in federal prison.          Beaver argues

20   that the Court’s sentence was based on two clear errors: (1) a

21   misapplication of the underlying facts and (2) an analysis of the

22   § 3553 factors.    Specifically, Beaver alleges that the Court

23   incorrectly thought that Beaver had sold sawed-off shot guns,

24   even though Beaver in fact had sold short barrel pistols.

25        Beaver pleaded guilty to possessing an unregistered firearm

26   in violation of 26 U.S.C. § 5861(d).        On February 26, 2014, ATF

27   agents seized two unregistered AR-15 short-barrel rifles that did

28   not contain manufacture markings or serial numbers from Beaver’s
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 1   home in Orangevale, California.       Beaver admitted that he

 2   possessed the two short-barrel rifles.        Since Beaver’s offense

 3   involved a firearm described in 26 U.S.C. § 5845(a), the base

 4   offense level for his crime is 18.       USSG § 2K2.1(a)(5).       Beaver

 5   also admitted to building six to ten firearms and supplying those

 6   firearms to another individual.       Thus, the Court applied a +2

 7   enhancement because the offense involved between three and seven

 8   firearms.   USSG § 2K2.1(b)(1)(A).       The Court also applied the +4

 9   enhancement required for trafficking in firearms.          USSG §
10   2K2.1(b)(5).   Finally, the Court subtracted three offense levels
11   for acceptance of responsibility and assistance in the
12   investigation.    Beaver’s motion does not provide the Court with
13   any new facts or arguments as to why this guideline range is
14   incorrectly calculated.     Thus, the correct guideline range in
15   this case was and remains 37 to 46 months based on the offense
16   level of 21 and a criminal history category of I.          There was no
17   misapplication or misunderstanding of the underlying facts of
18   this case by the Court.
19        Contrary to Beaver’s allegations in his motion, the Court
20   also properly considered all of the § 3553(a) factors.            The Court

21   concluded that a downward variance was warranted given Beaver’s

22   lack of criminal history, employment status, and post arrest

23   conduct, including cooperation with law enforcement, among other

24   factors.    The twelve month and one day sentence was a significant

25   downward variance from the applicable guidelines range and within

26   the guideline range proposed by Beaver in his sentencing

27   memorandum.

28        But as the Court has already explained during the sentencing
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       Case 2:15-cr-00158-JAM Document 77 Filed 06/07/16 Page 3 of 3


 1   hearing, prison time is warranted here.        Possession of illegal

 2   firearms is a serious offense and the Court believed that a

 3   prison sentence was necessary to afford adequate deterrence to

 4   criminal conduct by other individuals engaging in this illegal

 5   and dangerous activity.     The Court also found that the sentence

 6   of three years probation requested by Beaver would not reflect

 7   the seriousness of the offense, promote respect for the law or

 8   provide just punishment. A term of home detention, rather than

 9   imprisonment fails for the same reason. In short, the sentence
10   imposed by the Court is sufficient but not greater than necessary
11   to comply with the purposes set forth in 18 U.S.C. § 3553(a)(2).
12        For these reasons, the Court denies Beaver’s motion for
13   reconsideration.    The Court’s sentence did not result from
14   arithmetical, technical or other clear error.         Fed. R. Crim. P.
15   35(a).   There is no legal cause to change or modify this sentence
16        IT IS SO ORDERED.
17   Dated:   June 6, 2016
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